                         UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN-SOUTHERN DIVISION

In re: Maude’s Alabama BBQ, LLC                                     Case No. 24-31583
                                                                    Ch.       11
                                                                    Judge: Joel D. Applebaum

Debtor.
_____________________________/

    ORDER SETTING HEARING ON DEBTOR’S MOTION FOR INTERIM USE OF CASH
COLLATERAL PURSUANT TO SECTION 363 (c) OF THE BANKRUPTCY CODE AND FIRST DAY
   MOTION FOR AN ORDER AUTHORIZING DEBTOR TO PAY PRE- PETITION WAGES,
                  COMPENSATION AND EMPLOYEE BENEFITS

        This matter came before the Court on the Motions of Debtor which the Court is treating as requesting
 an expedited hearing on the interim use of Cash Collateral Pursuant to Section 363(c) of the Bankruptcy
 Code and for payment of pre-petition wages and benefits. The Court finding sufficient cause to hold an ex-
 pedited hearing on Debtor’s use of cash collateral and pre-petition wages and the payment of benefits on an
 interim basis only,

        NOW, THEREFORE,

        IT IS ORDERED that the Court shall conduct an IN PERSON hearing on the Debtor’s interim
 use of cash collateral and authorizing Debtor to pay pre-petition wages, compensation, and employ-
 ee Benefits on August 28, 2024 at 1:00 pm ET.


         IT IS FURTHER ORDERED that a copy of this Order, along with the underlying Motion to Use
 Cash Collateral and First Day Motion for an Order Authorizing Debtor to Pay Pre-Petition Wages, Com-
 pensation, and Employee Benefits and exhibits, shall be served on all secured creditors of record and the
 entities listed on Debtor’s twenty largest unsecured creditors by email or overnight mail within 24 hours
 after entry of this Order.


         IT IS FURTHER ORDERED that written objections to the interim use of cash collateral and au-
 thorizing Debtor to pay pre-petition wages, compensation, and employee benefits shall be filed no later
 than 10:00 am ET on August 28, 2024. Objections may also be raised orally at the hearing.


         IT IS FURTHER ORDERED that within 24 hours after entry of this Order, Debtor shall file an
 affidavit under oath of Ronald Darnell a setting forth the actual and necessary amount of cash collateral
 to be used by Debtor so as to avoid immediate and irreparable harm between August 28, 2024 and Sep-
 tember 4, 2024. Ronald Darnell shall be prepared, if necessary, to testify at the hearing under oath as to
 this amount.


          24-31583-jda      Doc 14    Filed 08/26/24     Entered 08/26/24 17:06:10        Page 1 of 2
          IT IS FURTHER ORDERED that the Court shall hold a second interim hearing on the Motion
  on date to be set during the September 4, 2024 hearing. At that hearing, the Court will, among other things,
  set a date and time for the Final Hearing on the Motion.

Signed on August 26, 2024




           24-31583-jda      Doc 14    Filed 08/26/24     Entered 08/26/24 17:06:10        Page 2 of 2
